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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 URSULA NEWELL-DAVIS, et al.,                        CIVIL ACTION NO.
                                                  2:21-CV-00049-NJB-JVM
               Plaintiffs,


       v.                                    JUDGE NANNETTE JOLIVETTE
                                                      BROWN

 COURTNEY N. PHILLIPS, et al.,               MAGISTRATE JUDGE JANIS VAN
                                                     MEERVELD
               Defendants.

               [PROPOSED] STIPULATED PROTECTIVE ORDER

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the following

Protective Order—to which all parties in this case consent—is issued to govern

certain disclosures in this case:

   1. Scope. All materials produced or adduced in the course of discovery, including

      initial disclosures, responses to discovery requests, deposition testimony and

      exhibits, and information derived directly therefrom (hereinafter collectively

      “documents”), shall be subject to this Order concerning Confidential

      Information as defined below. This Order is subject to the Local Rules of the

      Eastern District of Louisiana and the Federal Rules of Civil Procedure on

      matters of procedure and calculation of time periods.

   2. Confidential Information.

            a. As used in this Order, “Confidential Information” means information

               designated as “CONFIDENTIAL - SUBJECT TO PROTECTIVE

               ORDER” by the producing party that falls within one or more of the
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      following categories: (a) information prohibited from disclosure by

      statute; (b) medical information concerning any individual; (c) personal

      identity information; (d) income tax returns (including attached

      schedules and forms), W-2 forms and 1099 forms; and/or (e) personnel

      or employment records of a person who is not a party to the case.

   b. Plaintiffs seek documents from Defendants, and Defendants may

      produce and rely upon documents, containing medical information about

      third parties that is protected by the Health Insurance Portability and

      Accountability Act of 1996 and its implementing regulations—42 U.S.C.

      1320d et seq.; 45 C.F.R. § 164.502—and Louisiana’s Public Health and

      Safety statute—La. R.S. 40:1173.5. All information protected by these

      laws is Confidential Information for the purposes of this Protective

      Order. Both federal and state law allow disclosure of such Confidential

      Information in accordance with a court order. See 45 C.F.R. § 164.512(e);

      48 La. Admin. Code Pt 1, 509. This Order is a “qualified protective order”

      within the meaning of 45 C.F.R. § 164.512(e)(v) and shall govern all

      production and disclosure of any Confidential Information in this case.

   c. Information or documents that are available to the public may not be

      designated as Confidential Information.




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3. Designation.

     a. Procedure.    A party may designate a document as Confidential

        Information for protection under this Order by placing or affixing the

        words “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” on

        the document and on all copies in a manner that will not interfere with

        the legibility of the document. As used in this Order, the term “copies”

        includes   electronic   images,   duplicates,   extracts,   summaries   or

        descriptions that contain the Confidential Information. The marking

        “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be

        applied prior to or at the time that the documents are produced or

        disclosed. Applying the marking “CONFIDENTIAL - SUBJECT TO

        PROTECTIVE ORDER” to a document does not mean that the

        document has any status or protection by statute or otherwise except to

        the extent and for the purposes of this Order. Any copies made of any

        documents marked “CONFIDENTIAL -SUBJECT TO PROTECTIVE

        ORDER” shall also be so marked, except that indices, electronic

        databases or lists of documents that do not contain substantial portions

        or images of the text of marked documents and do not otherwise disclose

        the substance of the Confidential Information are not required to be

        marked.

     b. Inadvertent Failure to Designate. An inadvertent failure to designate a

        document as Confidential Information does not, standing alone, waive



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      the right to subsequently so designate the document; provided, however,

      that a failure to serve a timely Notice of Designation of deposition

      testimony as required by this Order at Paragraph 4, even if inadvertent,

      waives any protection for deposition testimony. If a party designates a

      document as Confidential Information after it was initially produced,

      the receiving party, on notification of the designation, must make a

      reasonable effort to assure that the document is treated in accordance

      with the provisions of this Order. No party shall be found to have

      violated this Order for failing to maintain the confidentiality of material

      during a time when that material has not been designated Confidential

      Information.

   c. Inspection of Materials Prior to Production.          In the event that

      documents, materials or other information are made subject to

      inspection prior to their production, no marking of those materials need

      be made by the producing party at the time of that inspection. For

      purposes of such an inspection, all materials made available for the

      inspection shall be considered Confidential Information and subject to

      this Order at the time of the inspection. Thereafter, if any materials

      subject to that inspection are produced and the producing party wishes

      those materials to be considered Confidential Information under this

      Order, the producing party shall so designate them in accordance with

      the procedures set forth in this Order.



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           d. Certification by Counsel or Party.            The designation of materials as

               Confidential Information is a certification by an attorney or a party

               appearing pro se that the document contains Confidential Information

               as defined in this order. 1

    4. Depositions. Deposition testimony is protected by this Order only if two

       distinct actions are taken with respect to that testimony. First, deposition

       testimony must be designated as “CONFIDENTIAL – SUBJECT TO

       PROTECTIVE ORDER” on the record at the time the testimony is taken. Such

       designation shall be specific as to the portions that contain Confidential

       Information.       Deposition testimony so designated shall be treated as

       Confidential Information protected by this Order until fourteen (14) days after

       delivery of the transcript by the court reporter to any party or the witness.

       Second, within fourteen (14) days of the delivery of the transcript, a

       designating party may serve a Notice of Designation to all parties of record

       identifying the specific portions of the transcript that are designated

       Confidential Information, and thereafter those portions identified in the Notice

       of Designation shall be protected under the terms of this Order. The failure to

       serve a timely Notice of Designation waives any designation of deposition

       testimony as Confidential Information that was made on the record of the

       deposition, unless otherwise ordered by the Court. Likewise, testimony cannot

       be subsequently designated as Confidential Information unless it was


1By designating documents as confidential pursuant to this Order, counsel submits to the jurisdiction
and authority of this Court concerning such designations and the enforcement of this Order.

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  specifically so designated on the record during or immediately upon completion

  of the subject deposition.

5. Protection of Confidential Material.

     a. General Protections.    Confidential Information shall not be used or

        disclosed by the parties, counsel for the parties or any other persons

        identified in subparagraph (b) for any purpose whatsoever other than in

        this litigation, which includes any appeal thereof.

     b. Limited Third-Party Disclosures.      The parties and counsel for the

        parties shall not disclose or permit the disclosure of any Confidential

        Information to any third person or entity except as set forth in

        subparagraphs (1)-(9) below.      Subject to these requirements, the

        following categories of persons may be allowed to review Confidential

        Information: (1) Counsel for the parties and employees of counsel who

        have responsibility for the action; (2) individual parties and officers,

        directors, employees, agents or representatives of a party but only to the

        extent counsel determines in good faith that the employee’s assistance

        is reasonably necessary to the conduct of the litigation in which the

        information is disclosed; (3) the Court and its personnel; (4) court

        reporters and recorders engaged for depositions and/or hearings; (5)

        those persons specifically engaged for the limited purpose of making

        copies of documents or organizing or processing documents, including

        outside vendors hired to process electronically stored documents; (6)



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      consultants, investigators, or experts employed by the parties or counsel

      for the parties to assist in the preparation and trial of this action but

      only after such persons have completed the certification contained in

      Attachment A (“Acknowledgment of Understanding and Agreement to

      Be Bound by Protective Order”); (7) during their depositions, or in

      preparation for their trial or deposition testimony, witnesses in this

      action to whom disclosure is reasonably necessary. Witnesses shall not

      retain a copy of documents containing Confidential Information, except

      witnesses may receive a copy of all exhibits marked at their depositions

      in connection with review of the transcripts.      Pages of transcribed

      deposition testimony or exhibits to depositions that are designated as

      Confidential Information pursuant to the process set out in this Order

      must be separately bound by the court reporter and may not be disclosed

      to anyone except as permitted under this Order. (8) The author or

      recipient of the document in the regular course of business (not

      including a person who received the document in the course of

      litigation); and (9) other persons only by written consent of the

      producing party or upon order of the Court and on such conditions as

      may be agreed upon or ordered.

   c. Control of Documents. Counsel for the parties shall make reasonable

      efforts to prevent unauthorized or inadvertent disclosure of Confidential

      Information. Counsel shall maintain the originals of the forms signed



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        by persons acknowledging their obligations under this Order for a period

        of three (3) years after the termination of the case.

6. Filing of Confidential Information. This Order does not, standing alone,

  authorize the filing of any document under seal. Any party wishing to file a

  document designated as Confidential Information in connection with a motion,

  brief or other submission to the Court must comply with Local Rule 5.6.

7. No Greater Protection of Specific Documents. Except on grounds of

  privilege not addressed by this Order, no party may withhold information from

  discovery on the ground that it requires protection greater than that afforded

  by this Order unless the party moves for an order providing such special

  protection.

8. Challenges by a Party to Designation as Confidential Information. The

  designation of any material or document as Confidential Information is subject

  to challenge by any party. The following procedure shall apply to any such

  challenge.

     a. Meet and Confer. A party challenging the designation of Confidential

        Information must do so in good faith and must begin the process by

        conferring directly with counsel for the designating party, or directly

        with a party who is appearing pro se. In conferring, the challenging

        party must explain the basis for its belief that the confidentiality

        designation was not proper and must give the designating party an

        opportunity to review the designated material, to reconsider the



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        designation, and, if no change in designation is offered, to explain the

        basis for the designation. The designating party must respond to the

        challenge within five (5) business days.

     b. Judicial Intervention. A party who elects to challenge a confidentiality

        designation may file and serve a motion that identifies the challenged

        material and sets forth in detail the basis for the challenge. Each such

        motion must be accompanied by a competent certification that affirms

        that the movant has complied with the meet-and-confer requirements of

        this Order. The burden of persuasion in any such challenge proceeding

        shall be on the designating party.         Until the Court rules on the

        challenge, all parties shall continue to treat the materials as

        Confidential Information under the terms of this Order.

9. Action by the Court. Applications to the Court for an order relating to

  materials or documents designated Confidential Information shall be by

  motion. Nothing in this Order or any action or agreement of a party under this

  Order shall limit the Court’s authority to make orders concerning the

  disclosure of documents produced in discovery or at trial.

10. Use of Confidential Documents or Information at Trial. Nothing in this

  Order shall be construed to affect the use of any document, material, or

  information at any trial or hearing. A party who intends to present or who

  anticipates that another party may present Confidential Information at a

  hearing or trial shall bring that issue to the Court’s and parties’ attention by



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  motion or in a pretrial memorandum without disclosing the substance of the

  Confidential Information. The Court may thereafter make such orders as are

  necessary to govern the use of such documents or information at trial.

11. Confidential Information Subpoenaed or Ordered Produced in Other
    Litigation.

     a. If a receiving party is served with a subpoena or an order issued in other

        litigation or regulatory or criminal investigation that would compel

        disclosure of any material or document designated in this action as

        Confidential Information, the receiving party must so notify the

        designating party, in writing, immediately and in no event more than

        three (3) court days after receiving the subpoena or order.         Such

        notification must include a copy of the subpoena or court order.

     b. The receiving party also must immediately inform, in writing, the

        person or entity that caused the subpoena or order to issue in the other

        litigation that some or all of the material covered by the subpoena or

        order is the subject of this Order. In addition, the receiving party must

        deliver a copy of this Order promptly to the party in the other action

        that caused the subpoena to issue.

     c. The purpose of imposing these duties is to alert the issuing person or

        entity to the existence of this Order and to afford the designating party

        in this case an opportunity to make attempts to protect its Confidential

        Information in the court from which the subpoena or order issued. The

        designating party shall bear the burden and the expense of seeking

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        protection in that court of its Confidential Information, and nothing in

        these provisions should be construed as authorizing or encouraging a

        receiving party in this action to disobey a lawful directive from another

        court. The obligations set forth in this paragraph remain in effect while

        the party has in its possession, custody or control Confidential

        Information by the other party to this case.

12. Obligations upon Conclusion of Litigation.

     a. Order Continues in Force. Unless otherwise agreed upon or ordered,

        this Order shall remain in force after dismissal or entry of final

        judgment not subject to further appeal.

     b. Obligations upon Conclusion of Litigation. Within sixty (60) days after

        dismissal or entry of final judgment not subject to further appeal, the

        producing party may make demand upon the receiving party for return

        or destruction of all materials considered Confidential Information

        under this Order, including “copies” as defined above. No party shall

        have any obligation to return or destroy Confidential Information if such

        a demand is not timely made.          Where the demand for return or

        destruction is timely made, the subject documents shall be returned to

        the producing party unless: (1) the document has been offered into

        evidence or filed without restriction as to disclosure; (2) the parties agree

        to destruction to the extent practicable in lieu of return; or (3) as to

        documents bearing the notations, summations, or other mental



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       impressions of the receiving party (i.e., attorney work product), that

       party elects to destroy the documents and certifies to the producing

       party that it has done so; or (4) to the extent retention is required by

       other laws, rules or regulations, including those of the Louisiana State

       Bar Association and Louisiana Supreme Court. The parties may choose

       to agree that the receiving party shall destroy documents containing

       Confidential Information and certify the fact of destruction, and that the

       receiving party shall not be required to locate, isolate and return e-mails

       (including attachments to e-mails) that may include Confidential

       Information or Confidential Information contained in deposition

       transcripts or drafts or final expert reports.

    c. Retention of Work Product and One Set of Filed Documents.

       Notwithstanding the above requirements to return or destroy

       documents, counsel may retain: (1) attorney work product, including an

       index that refers or relates to designated Confidential Information, so

       long as that work product does not duplicate verbatim substantial

       portions of Confidential Information, and (2) one complete set of all

       documents filed with the Court including those filed under seal. Any

       retained Confidential Information shall continue to be protected under

       this Order.   An attorney may use his or her own work product in

       subsequent litigation, provided that its use does not disclose or use

       Confidential Information or otherwise violate this Order.



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      d. Deletion of Documents Filed under Seal from Electronic Case Filing

         (ECF) System. Filings under seal shall be deleted from the ECF system

         only upon order of the Court.

13. Order Subject to Modification. This Order shall be subject to modification

   by the Court on its own initiative or on motion of a party or any other person

   with standing concerning the subject matter.

14. No Prior Judicial Determination. This Order is entered based on the

   representations and agreements of the parties and for the purpose of

   facilitating discovery. Nothing herein shall be construed or presented as a

   judicial determination that any document or material designated Confidential

   Information by counsel or the parties is entitled to protection under Rule 26(c)

   of the Federal Rules of Civil Procedure or otherwise until such time as the

   Court may rule on a specific document or issue.

15. Persons Bound. This Order shall take effect when entered and shall be

   binding upon all counsel of record and their law firms, the parties, and persons

   made subject to this Order by its terms.

      SO ORDERED.

      New Orleans, Louisiana, this 28th day of May, 2021



            _________________________________________________
             MAGISTRATE JUDGE JANIS VAN MEERVELD




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                              ATTACHMENT A

             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

   The undersigned hereby acknowledges that he/she has read the Protective

Order dated ____________________________ in the above-captioned action and

attached hereto, understands the terms thereof and agrees to be bound by those

terms. The undersigned submits to the jurisdiction of the United States District

Court for the Eastern District of Louisiana in matters relating to the

aforementioned and attached Protective Order and understands that the terms of

the Order obligate him/her to use materials designated as Confidential

Information in accordance with the Order solely for the purposes of the above-

captioned action, and not to disclose any such Confidential Information to any

other person, firm or concern. The undersigned acknowledges that violation of the

Protective Order may result in penalties for contempt of court.

Name (printed):        ______________________________________

Job Title:             ______________________________________

Employer:              ______________________________________

Business Address:      ______________________________________

                       ______________________________________

Date:                  ______________________________________

Signature:             ______________________________________




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